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                                                            Exhibit A to the Complaint
Location: Philadelphia, PA                                                                              IP Address: 71.175.82.139
Total Works Infringed: 25                                                                               ISP: Verizon Fios
 Work            Info Hash                                  UTC                 Site                Published         Registered    Registration
 1               79153C5817365DF2C54E1CA8A115266FE84C1A08         04/20/2025    Vixen               04/18/2025        04/23/2025    PA0002527325
                                                                     19:58:13
 2               20BAF945F4047EA33912F47AF705D3BD16E3DEFA         03/31/2025    Milfy               02/21/2024        03/15/2024    PA0002461468
                                                                     18:47:13
 3               21AD397667F0967623A8172989D152104736482E         03/24/2025    Tushy               03/23/2025        03/28/2025    PA0002522497
                                                                     04:06:27
 4               F811C1D54F4202E9C0975D0CDAC66FD77BA0CA67         03/20/2025    TushyRaw            03/18/2025        03/25/2025    PA0002521741
                                                                     03:36:51
 5               A40A09E3D93FA536DBDCC2E3533D3A67053C7AA7         03/17/2025    Tushy               03/16/2025        03/28/2025    PA0002522490
                                                                     05:15:55
 6               7887BB3597ABA24CE3895B3E3DCC907291AC071B         03/11/2025    Tushy               03/09/2025        03/28/2025    PA0002522491
                                                                     02:00:33
 7               DC8BB82F5B392573C584F8D21F62C7F7D0F6A0E8         03/08/2025    TushyRaw            05/21/2024        06/18/2024    PA0002476915
                                                                     06:32:02
 8               69B031FC1FEA9C4236E5AACF78F5CF9FD93DE92B         02/20/2025    Tushy               02/16/2025        02/18/2025    PA0002515913
                                                                     21:21:44
 9               D1B7022FE085F005FD48920C49A27361FB58ED6E         02/18/2025    Vixen               02/14/2025        02/18/2025    PA0002515969
                                                                     18:03:40
 10              0BFF4AB71E86784B3C9A5DCACA52C40F1FDAA2B2         02/17/2025    TushyRaw            02/16/2025        02/18/2025    PA0002516145
                                                                     22:04:32
 11              A882431A5818A1AEAF7DB988C3CB016C741B12FB         02/13/2025    Tushy               02/09/2025        02/18/2025    PA0002515855
                                                                     23:36:44
 12              0257A0B747C831EE6900CCD5E544BE87F60FE5BD         02/13/2025    Milfy               02/12/2025        02/18/2025    PA0002516144
                                                                     05:18:56
 13              3FBE4B0E62CC90B1A3978F4CFBCA74C7DA0DE314         02/02/2025    Vixen               01/31/2025        02/18/2025    PA0002515961
                                                                     04:29:15
 14              664E53EF68FC5169A9E7D90540DCBFC6B6DE4708         01/28/2025    Tushy               01/27/2025        02/18/2025    PA0002515936
                                                                     23:04:37
 15              989480984D94612AA231FB43D8AB0C2D58CC7EFE         01/23/2025    Milfy               01/22/2025        02/18/2025    PA0002516122
                                                                     17:09:10
 16              7EF3756C743AE320AD774F0E7357ECA77534A4A5         01/20/2025    TushyRaw            01/17/2025        02/18/2025    PA0002516153
                                                                     22:50:57
                           Case 2:25-cv-02236-CMR   Document 1-1             Filed 05/02/25   Page 2 of 2

Work   Info Hash                                  UTC                 Site                Published         Registered   Registration
17     C91BED8A3499AA68D4CBB97E9B3880E79BC4134E         01/13/2025    Tushy               01/12/2025        01/16/2025   PA0002509628
                                                           14:03:54
18     7e93c03aaa08091dc8e1639c1e3a4b39979019a0         01/11/2025    Vixen               09/11/2018        10/16/2018   PA0002127780
                                                           20:39:36
19     fac418a8796bba411aff7d1fe7af05f051c07198         01/08/2025    TushyRaw            12/24/2024        01/16/2025   PA0002509640
                                                           02:27:30
20     761F207D4E287A34E04930B2BFE6BC5CD3B3362F         01/07/2025    Vixen               01/03/2025        01/16/2025   PA0002509633
                                                           01:32:51
21     10508219C8E02F2F96C7E2F669D8794B553A8C6D         01/01/2025    TushyRaw            12/31/2024        01/16/2025   PA0002509650
                                                           03:53:45
22     8907AD2508F3D9CAA7E06983E44CB2A3021977B4         12/25/2024    Tushy               02/25/2017        05/25/2017   PA0002049783
                                                           05:18:28
23     ECFEE9A8313B2B8058F07C7AF90C6218EF8A4E45         12/20/2024    Vixen               10/04/2024        10/16/2024   PA0002494721
                                                           00:13:57
24     8AC88116DF7A53F20E95E7CDBC924000CCEC06C9         11/30/2024    Tushy               05/12/2024        06/18/2024   PA0002476874
                                                           04:33:47
25     D2B852E789DE97155088E670102B0F40540FE97B         11/22/2024    Milfy               11/20/2024        12/13/2024   PA0002506260
                                                           07:53:15
